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                                EXHIBIT A TO
                       BELO CASES INITIAL PROCEEDINGS
                          CASE MANAGEMENT ORDER


                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

***                                                  CIVIL ACTION

VERSUS                                               NO.

BP EXPLORATION & PRODUCTION, INC.                    JUDGE BARBIER
AND BP AMERICA PRODUCTION COMPANY                    MAG. JUDGE WILKINSON

Related to:   12-968 BELO
              in MDL No. 2179


                                BELO COMPLAINT
